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                      IN THE UNITED STATES BANKRUPTCY COURT
                             WESTERN DISTRICT OF TEXAS
                                  EL PASO DIVISION

  IN RE:                              §
  PDG PRESTIGE, INC.,                 §    BANKRUPTCY NO. 21-30107-CGB
        Debtor.                       §
  _____________________________________
                                      §              CHAPTER 7
                                      §
  LEGALIST DIP GP, LLC and            § _____________________________________
  PDG PRESTIGE, INC. (by and through  §
  Ronald Ingalls, Chapter 7 Trustee), §
        Plaintiffs,                   §
                                      §     ADVERSARY NO. 23-03004-CGB
  v.                                  §
                                      §
  MICHAEL DIXSON, individually;       §
  MESILLA VALLEY VENTURES, LLC;       §
  MICHAEL DIXSON TRUST THROUGH §
  ITS TRUSTEE MICHAEL J. DIXSON;      §
  CHRISTINA DIXSON; SOUTHWESTERN §
  ABSTRACT & TITLE COMPANY, INC.; §
  WEYCER, KAPLAN, PULASKI &           §
  ZUBER P.C.; ENTRADA                 §
  DEVELOPMENT, LLC; THE GATEWAY §
  VENTURES, LLC; LPC RETAIL, LLC,     §
  and FSLRO 510 SOUTH TELSHOR LAS §
  CRUCES, LLC,                        §
        Defendants.                   §

               ORDER GRANTING WEYCER, KAPLAN, PULASKI & ZUBER P.C.’s
                         MOTION FOR SUMMARY JUDGMENT

  ORDER GRANTING WEYCER, KAPLAN, PULASKI & ZUBER P.C.’S MOTION FOR SUMMARY JUDGMENT
  19830171v1
  10660.217                                                                           1
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          Before me came to be heard the Motion of Weycer, Kaplan, Pulaski & Zuber P.C.

  (“Weycer Kaplan”) for Summary Judgment on the claims brought against it by Plaintiffs Legalist

  DIP GP, LLC (“Legalist”) and PDG Prestige, Inc. (by any through Ronald Ingalls, Chapter 7

  Trustee) (collectively, “Plaintiffs”) and for Summary Judgment on Weycer Kaplan’s affirmative

  defense of attorney immunity as to Legalist’s claims pursuant to Federal Rule of Bankruptcy

  Procedure 7056 (“Motion”). After reviewing the Motion, any responsive pleadings, thereto, and

  the arguments of counsel, if any, I GRANT the Motion.

          IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that Summary Judgment

  is entered in Weycer Kaplan’s favor as to the Plaintiffs’ claims against Weycer Kaplan for Civil

  Conspiracy, Civil Contempt, and for Revocation of Weycer Kaplan’s Retention Order and for Fee

  Disgorgement because there are no issues of material fact as to Weycer Kaplan’s entitlement to

  Summary Judgment on these causes of action. Additionally, Summary Judgment is entered on

  Weycer Kaplan’s affirmative defense of Attorney Immunity against the claims of Legalist brought

  against it as there are no issues of material fact as to Weycer Kaplan’s affirmative defense of

  Attorney Immunity.

                                               ###




  ORDER GRANTING WEYCER, KAPLAN, PULASKI & ZUBER P.C.’S MOTION FOR SUMMARY JUDGMENT
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  Prepared By:

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  ORDER GRANTING WEYCER, KAPLAN, PULASKI & ZUBER P.C.’S MOTION FOR SUMMARY JUDGMENT
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